Case 3:11-cv-00247-FLW-LHG Document 251 Filed 05/25/16 Page 1 of 14 PageID: 4508



  NOT FOR PUBLICATION

                                 UNITED STATES DISTRICT COURT
                                    DISTRICT OF NEW JERSEY

      JOAN MULLIN, ADMINISTRATRIX OF                       CIVIL ACTION NO. 11-247 (MLC)
      THE ESTATE OF ROBERT MULLIN,
      deceased, and JOAN MULLIN, individually,                 MEMORANDUM OPINION

        Plaintiff,

        v.

      ADMINISTRATOR KAREN BALICKI, et al.,

        Defendants.


  COOPER, District Judge

             Plaintiff Joan Mullin, individually and as administratrix of the estate of her son,

  Robert Mullin (“Mullin”), commenced this action against the following defendants in their

  “personal, individual and professional capacities” who represent the Department of

  Corrections of the State of New Jersey, South Woods State Prison, and Central Reception

  and Assignment Facility (“CRAF”): Administrator Karen Balicki; Director Robert Patterson;

  and Director Marie Dunlap-Pryce. (See dkt. 102.)1 Plaintiff further brought this action

  against the following defendants in their “personal, individual and professional capacities”:

  Jane Byrd, LPN (“Byrd”); Erin Marusky, RN (“Marusky”); Officer Dimler; and Beatrice

  Teel, RN. (See id.) Plaintiff also named the Kintock Group and Mercer County as

  defendants. (See id.)


  1
    The Court will cite to the documents filed on the Electronic Case Filing System (“ECF”) by referring
  to the docket entry numbers by the designation of “dkt.” Pincites reference ECF pagination.
Case 3:11-cv-00247-FLW-LHG Document 251 Filed 05/25/16 Page 2 of 14 PageID: 4509



         Byrd now moves for summary judgment on all claims asserted against her. (See dkt.

  234.) Plaintiff opposes the motion. (See dkt. 241.) The Court will determine the motion on

  the papers and without oral argument pursuant to Local Civil Rule 78.1(b). For the reasons

  stated below, the Court will grant Byrd’s motion.

                                         BACKGROUND

  I.     Factual History

         The Court assumes the parties’ familiarity with the facts underlying this action and

  will provide a brief overview of the facts pertaining to this motion.2 Plaintiff’s allegations

  arise out of Mullin’s suicide while incarcerated at CRAF. (See generally dkt. 45.)

         A.      CRAF Medical Screening Policy

         Pursuant to CRAF’s medical screening policy, a newly admitted inmate is screened

  by the medical staff within four hours of arrival. (See dkt. 234 at 6; dkt. 241 at 11; see also

  dkt. 241-24 at 2–8.) The medical screening is documented in CRAF’s electronic medical

  records. (See dkt. 234 at 6; dkt. 241 at 13.) If an inmate responds affirmatively to a mental

  health item during the screening, the inmate is flagged as “special needs” and the screening

  nurse must immediately refer the inmate to the Lead Psychologist or designee for further

  mental health evaluations. (See dkt. 234 at 6; dkt. 241 at 13.) This psychological follow-up

  must occur within seventy-two hours of the medical screening. (See dkt. 234-5 at 27.) If the

  screening nurse makes a referral of an “emergent nature,” the inmate will be placed under

  “close or constant watch.” (See dkt. 234 at 6; dkt. 241 at 11.) An emergent referral requires



  2
   The Court incorporates by reference its November 1, 2013 Memorandum Opinion, which provides a
  detailed account of the facts and procedural history of this action. (See dkt. 153.)
                                                      2
Case 3:11-cv-00247-FLW-LHG Document 251 Filed 05/25/16 Page 3 of 14 PageID: 4510



  a psychological evaluation of the inmate within four hours of the medical screening. (See

  dkt. 234-5 at 27–28.) The inmate will remain under “close or constant watch” until such an

  evaluation is made. (See id.)

         Byrd’s testimony indicates that she had knowledge of these policies. (See dkt. 234-5

  at 19–23; dkt. 241-14 at 3.) For those policies that Byrd could not recall, she testified that

  her practice was always to report to her supervisor. (See dkt. 241-15 at 8.) Byrd was trained

  on how to identify special needs inmates, and was aware of the electronic medical recording

  requirements regarding special needs inmates. (See dkt. 234-5 at 19; dkt. 241-14 at 5.) Byrd

  testified that before beginning each medical screening, she checked the inmate’s medical

  records for any mental health history. (See dkt. 241-14 at 8–10.) Byrd stated that she did not

  read an inmate’s entire electronic medical record, but rather searched for whether the inmate

  was designated as special needs at another facility, or otherwise had a mental health history

  indicator on the file. (See id.)

         Byrd also testified that she was aware of the repercussions of designating an inmate as

  special needs, i.e., that it would trigger “specific actions regarding how one is to be handled

  in an administrative detention.” (See dkt. 241-14 at 14.) Byrd also knew that she was

  required to document when an inmate exhibited signs of self-harm or a desire to harm others,

  and to immediately report it to her supervisor. (See dkt. 234-5 at 20.) Byrd testified that she

  did not determine inmates’ housing assignments, and that this was the role of her supervisor.

  (See dkt. 241-14 at 4.) Byrd also testified that she did not have control over when the

  psychologist would see an inmate, besides referring an inmate to her supervisor when she felt

  the inmate needed emergent care. (See dkt. 241-14 at 12.)

                                                  3
Case 3:11-cv-00247-FLW-LHG Document 251 Filed 05/25/16 Page 4 of 14 PageID: 4511



         B.      Mullin’s January 2009 Intake

         In January 2009, Mullin was removed from a halfway house and taken into the

  custody of the New Jersey Department of Corrections after being found under the influence

  and in possession of cocaine and opiates. (See dkt. 234 at 5; dkt. 241 at 6–7.) Mullin was

  taken to CRAF on January 14, 2009. (See dkt. 234 at 4.) Mullin first met with a social

  worker and requested to be placed on special needs status for his anxiety. (See id. at 5–6.)

  The social worker listed him on the special needs roster and referred him to a psychiatrist for

  possible anxiety medication. (See id.; dkt. 241 at 9.) On January 16, 2009, Byrd conducted

  a four-hour medical screening of Mullin. (See dkt. 234 at 6; dkt. 241 at 10.) The mental

  health portion of the intake and Mullin’s responses are reproduced below:

                     Question                                               Answer
   Are you currently or have you ever been on            No
   psychiatric medication?
   Have you ever been hospitalized or treated            Yes, anxiety and depression – 2006
   for mental illness?
   Are you thinking about killing yourself?              No

   Have you ever attempted suicide?                      Yes, 4 years ago
   Has any member of your immediate family               No
   made a serious suicide attempt or
   committed suicide?
   Did you hold a position of authority in the           No
   community?
   Was your case a shocking crime or given               No
   media attention?
   Do you feel hopeless about your future?               Yes
   Have you experienced a significant loss,              No
   such as the loss of a job you valued or the
   loss of a significant relationship, or death of
   someone close to you in the past 6 months?


  (Dkt. 241-12 at 3.)
                                                     4
Case 3:11-cv-00247-FLW-LHG Document 251 Filed 05/25/16 Page 5 of 14 PageID: 4512



          During the screening, Byrd noted that Mullin did not refuse to answer questions, and

  did not cry, talk to himself, have noticeable scars on his wrist or neck, or appear agitated.

  (See id.) Following Byrd’s screening, Marusky cleared Mullin for placement in CRAF’s

  Temporary Close Custody Unit. (See dkt. 234 at 7.)3 On January 17, 2009, Mullin

  committed suicide in his cell. (See dkt. 153 at 6.) He was pronounced dead at 4:49 a.m.

  (See id.)

  II.     Procedural History

          Plaintiff filed the second amended complaint on September 21, 2012. (See dkt. 102.)

  Plaintiff alleged several federal constitutional claims pursuant to 42 U.S.C. § 1983 (“Section

  1983”), as well as analogous claims under the New Jersey Constitution pursuant to the New

  Jersey Civil Rights Act (“NJCRA”). (See id. at 9–14.) See also N.J.S.A. 10:6-2. Plaintiff

  also set forth various claims arising under common law, such as negligent hiring, intentional

  and negligent infliction of emotional distress, abuse of process, and medical malpractice.

  (See dkt. 102 at 9–14.)

          Mercer County was dismissed from the action by stipulation of the parties on March

  22, 2011. (See dkt. 15.) Plaintiff agreed to the dismissal of the claims against Marusky by

  order of the Court on May 2, 2013. (See dkt. 139.) All claims against Administrator Karen

  Balicki, Director Robert Patterson, Director Marie Dunlap-Pryce, Officer Dimler, and

  Beatrice Teel, RN were dismissed on November 1, 2013 by way of the Court’s order and


  3
   The Temporary Close Custody Unit is designated for inmates who are removed from the general
  population for disciplinary or administrative reasons including rule infractions, alleged violations of
  prohibited acts, protective custody, or for special observation. (See dkt. 234 at 7.) Pursuant to CRAF
  policy, inmates in close custody are monitored by a custody officer every fifteen minutes. (See dkt.
  234-6 at 6.)
                                                       5
Case 3:11-cv-00247-FLW-LHG Document 251 Filed 05/25/16 Page 6 of 14 PageID: 4513



  memorandum opinion (“11-1-13 Order & Opinion”). (See dkt. 153; dkt. 154.) The 11-1-13

  Order and Opinion also dismissed all common law claims against Byrd. (See id.) Kintock

  Group was dismissed from the action by stipulation of the parties on November 13, 2015.

  (See dkt. 246.) Thus, Byrd is the only remaining defendant, and the only remaining viable

  claims are the alleged constitutional violation under the Eighth Amendment and the

  analogous provision of the New Jersey Constitution.

                                           DISCUSSION

  I.     Legal Standard

         A.     Summary Judgment

         Federal Rule of Civil Procedure 56 provides that summary judgment is proper “if the

  movant shows that there is no genuine dispute as to any material fact and the movant is

  entitled to judgment as a matter of law.” Fed.R.Civ.P. 56(a). Material facts are those “that

  could affect the outcome” of the proceeding, and “a dispute about a material fact is genuine if

  the evidence is sufficient to permit a reasonable jury to return a verdict for the non-moving

  party.” Lamont v. New Jersey, 637 F.3d 177, 181 (3d Cir. 2011) (internal citation and

  quotation omitted). This evidence may include “citing to particular parts of materials in the

  record” or a “showing that the materials cited do not establish the absence or presence of a

  genuine dispute, or that an adverse party cannot produce admissible evidence to support the

  fact.” Fed.R.Civ.P. 56(c)(1)(A)–(B).

         If the movant demonstrates an absence of genuinely disputed material facts, then the

  burden shifts to the non-movant to demonstrate the existence of a genuine issue for trial. See

  Matsushita Elec. Indus. Co., Ltd. v. Zenith Radio Corp., 475 U.S. 574, 586–87 (1986).

                                                 6
Case 3:11-cv-00247-FLW-LHG Document 251 Filed 05/25/16 Page 7 of 14 PageID: 4514



  “Where the record taken as a whole could not lead a rational trier of fact to find for the non–

  moving party, there is no genuine issue for trial.” Id. (internal quotation marks omitted).

  The non-movant must show the existence of issues for trial by referring to the record. See

  Fed.R.Civ.P. 56(c)(1).

         When determining whether a genuine dispute of material fact exists, the Court must

  view the evidence in the light most favorable to the non-movant and draw all reasonable

  inferences in that party’s favor. See Scott v. Harris, 550 U.S. 372, 380 (2007); Wishkin v.

  Potter, 476 F.3d 180, 184 (3d Cir. 2007). If the non-movant fails to demonstrate that at least

  one genuine factual dispute exists for trial, then the Court must determine whether the

  movant is entitled to judgment as a matter of law. See McCann v. Unum Provident, 921

  F.Supp.2d 353, 357 (D.N.J. 2013). “A movant is entitled to judgment as a matter of law if, at

  trial, no reasonable jury could find for the non-moving party.” Id.

         B.     Section 1983

         A plaintiff may have a cause of action under Section 1983 for certain violations of

  constitutional rights. Section 1983 provides in relevant part:

         Every person who, under color of any statute, ordinance, regulation, custom,
         or usage, of any State or Territory or the District of Columbia, subjects, or
         causes to be subjected, any citizen of the United States or other person within
         the jurisdiction thereof to the deprivation of any rights, privileges, or
         immunities secured by the Constitution and laws, shall be liable to the party
         injured. . . .

  42 U.S.C. § 1983.

         To state a claim for relief under Section 1983, a plaintiff must allege: (1) the violation

  of a right secured by the Constitution or laws of the United States; and (2) that the alleged


                                                 7
Case 3:11-cv-00247-FLW-LHG Document 251 Filed 05/25/16 Page 8 of 14 PageID: 4515



  deprivation was committed or caused by a person acting under color of state law. See

  Harvey v. Plains Twp. Police Dep’t, 635 F.3d 606, 609 (3d Cir. 2011). “The traditional

  definition of acting under color of state law requires that the defendant in a § 1983 action

  have exercised power possessed by virtue of state law and made possible only because the

  wrongdoer is clothed with the authority of state law.” West v. Adkins, 487 U.S. 42, 49

  (1988) (internal quotation omitted). Further, “a public employee acts under color of state law

  while acting in his official capacity or while exercising his responsibilities pursuant to state

  law.” Id. at 50.

         This Court discussed at length in its 11-1-13 Opinion the circumstances under which

  the United States Court of Appeals for the Third Circuit (“Third Circuit”) recognizes that a

  court may impose liability under Section 1983 for prison suicides. (See dkt. 153 at 23–33.)

  See also Colburn v. Upper Darby Twp., 946 F.2d 1017 (3d Cir. 1991) (hereinafter “Colburn

  II”); Colburn v. Upper Darby Twp., 838 F.2d 663 (3d Cir. 1988). A plaintiff bringing a

  Section 1983 claim based on a prison suicide must establish three elements: “(1) the detainee

  had a particular vulnerability to suicide, (2) the custodial officer or officers knew or should

  have known of that vulnerability, and (3) those officers acted with reckless indifference to

  the detainee’s particular vulnerability.” Colburn II, 946 F.2d at 1023 (internal quotation

  omitted).

         A particular vulnerability to suicide exists if the suicide was “a strong likelihood,

  rather than a mere possibility.” Colburn II, 946 F.2d at 1024. The Third Circuit defined a

  strong likelihood as follows:



                                                  8
Case 3:11-cv-00247-FLW-LHG Document 251 Filed 05/25/16 Page 9 of 14 PageID: 4516



         The strong likelihood of suicide must be “so obvious that a lay person would
         easily recognize the necessity for preventative action; the risk of self-inflicted
         injury must be not only great, but also sufficiently apparent that a lay
         custodian’s failure to appreciate it evidences an absence of any concern for the
         welfare of his or her charges.

  Id. at 1025 (internal citation and quotation omitted).

         “[I]t is clear that mere negligence on the part of prison officials is insufficient to

  establish a claim pursuant to § 1983.” Kulp v. Veruete, 267 Fed.Appx. 141, 143 (3d Cir.

  2008); see also Hinton v. United States, No. 14-854, 2015 WL 737584 (M.D. Pa. Feb. 20,

  2015) (granting summary judgment for prison officials because there was not “strong

  likelihood” that decedent might have committed suicide, as decedent had not demonstrated

  suicidal ideation in six years).

         C.      NJCRA

         The NJCRA provides, in part:

         Any person who has been deprived of any substantive due process or equal
         protection rights, privileges or immunities secured by the Constitution or laws
         of the United States, or any substantive rights, privileges or immunities
         secured by the Constitution or laws of this State . . . may bring a civil action
         for damages and for injunctive or other appropriate relief.

  N.J.S.A. 10:6-2.

         The NJCRA is interpreted as analogous to Section 1983. See, e.g., Szemple v. Corr.

  Med. Servs., 493 Fed.Appx. 238, 241 (3d Cir. 2012); Trafton v. City of Woodbury, 799

  F.Supp.2d 417, 443 (D.N.J. 2011); Rezem Family Assocs., LP v. Borough of Millstone, 423

  N.J.Super. 103, 115 (N.J. App. Div. 2011). Plaintiff bases the NJCRA claim on Article I,

  Paragraph 12 of the New Jersey Constitution, which provides, in relevant part: “Excessive

  bail shall not be required, excessive fines shall not be imposed, and cruel and unusual

                                                  9
Case 3:11-cv-00247-FLW-LHG Document 251 Filed 05/25/16 Page 10 of 14 PageID: 4517



  punishment shall not be inflicted.” N.J. Const. Art. I, Para. 12. This provision of the New

  Jersey Constitution is interpreted as corresponding to the Eighth Amendment. See Edwards

  v. Power, No. 07-4121, 2014 WL 5092916, at *5 (D.N.J. Oct. 10, 2014); see also State v.

  Des Marets, 92 N.J. 62, 82 (1983).

  II.      Analysis

           A.     Section 1983

           Plaintiff is first required to show that Mullin had a “particular vulnerability to

  suicide.” See Colburn II, 946 F.2d at 1024. “[T]he requirement of reckless or deliberate

  indifference implies that there must be a strong likelihood, rather than a mere possibility, that

  self-inflicted harm will occur.” Id. (internal quotations omitted). In support of this first

  factor, Plaintiff argues that there was a strong likelihood of suicide in the present case

  because Mullin was a special needs inmate, “had a history of suicide,” and answered “yes” to

  when asked if he felt hopeless during the medical screening. (See dkt. 241-1 at 11.)

           Byrd argues that Mullin was classified as special needs due to his anxiety. (See dkt.

  244 at 6.) She further argues that Mullin denied wanting to hurt himself, was not currently

  taking any psychiatric medications, and did not present himself with any emergent conditions

  or suicidal ideation that would require an immediate psychological referral. (See dkt. 234-1

  at 9.)

           The Court finds that Mullin’s previous suicide attempt reflects past suicidal ideation.

  See Estate of Cills v. Kaftan, 105 F.Supp.2d 391, 398 (D.N.J. 2000). But the Third Circuit

  instructs that a decedent’s particular vulnerability to suicide must be a “strong likelihood” for

  the purpose of Section 1983 liability to attach. Colburn II, 946 F.2d at 1024. Here, Mullin

                                                   10
Case 3:11-cv-00247-FLW-LHG Document 251 Filed 05/25/16 Page 11 of 14 PageID: 4518



  indicated during his medical screening that he did not want to harm himself. (See dkt. 241-

  12 at 3.) This answer was consistent with Mullin’s statement to a nurse and the social

  worker two days prior. (See dkt. 234-1 at 7.) Mullin had no other suicide attempts in the

  intervening years. (See id.) He was not “acting irate, talking to himself, crying, [or]

  belligerent” during the medical screening, and thus immediate psychological help was not

  necessary under CRAF policy. (See dkt. 241-14 at 12.)

         Moreover, Mullin’s acknowledgement of feeling hopeless about his situation is not

  unusual given the circumstances: he had previously been serving his sentence in a halfway

  house, and was sent to CRAF for a violation of probation when he was found in possession

  and under the influence of cocaine and opiates. (See dkt. 240 at 6.) Although Mullin’s past

  suicide attempt may illustrate a mere possibility of suicide, Plaintiff has not presented further

  evidence showing that this suicide attempt made Mullin’s suicide a “strong likelihood” as

  required under Colburn II. See Colburn II, 946 F.2d at 1024. The Court, when viewing this

  evidence in favor of Plaintiff, does not find that there was a strong likelihood of suicide given

  the facts above.

         Plaintiff must next show that the strong likelihood of suicide was so obvious that a

  layperson would easily recognize the necessity for preventative action. See id. at 1025.

  “Custodians have been found to ‘know’ of a particular vulnerability to suicide when they

  have had actual knowledge of an obviously serious suicide threat, a history of suicide

  attempts, or a psychiatric diagnosis identifying suicidal propensities.” Id. at n.1. Here,

  Plaintiff argues that Byrd knew or should have known of the strong likelihood of suicide

  because Mullin was designated as a special needs inmate “within hours prior to his

                                                 11
Case 3:11-cv-00247-FLW-LHG Document 251 Filed 05/25/16 Page 12 of 14 PageID: 4519



  evaluation by Nurse Byrd.” (See dkt. 241-1 at 9.) At the same time, Plaintiff argues that

  Byrd was under a “duty to specifically put in the chart the classification of Mullin as a

  Special Needs inmate.” (See id. at 10.) Byrd argues that she could not know of a strong

  likelihood of suicide in this case because “Mullin did not demonstrate any suicidal ideation

  in the four-year period prior to his death.” (Dkt. 234-1 at 7.)

          A fair reading of the record indicates that an inmate can be designated as special

  needs when he or she “meets criteria of axis I and/or axis II disorder per the most recent

  edition of the Diagnostic and Statistical Manual (DSM) which interferes with the inmate’s

  ability to meet the functional requirements of prison life without mental health treatment.”

  (See dkt. 241-24 at 3.) Thus, special needs status does not equate to suicide risk. Here, there

  was no obvious suicide threat, no history of repeated suicide attempts, or no psychiatric

  diagnosis identifying suicidal propensities. Colburn II, 946 F.2d at 1025 n.1. It is also

  inapposite that Byrd herself did not designate Mullin as special needs, as the social worker

  had already added Mullin to the special needs roster two days prior. (See dkt. 234 at 5–6;

  dkt. 241 at 9.) Moreover, pursuant to CRAF policy, Byrd indicated that Mullin required a

  psychological follow-up because of his affirmative response to one of the mental health

  items during her screening.4 Even if the Court found that there was a strong likelihood of

  suicide in this case, the Court cannot conclude that a reasonable jury would find that Byrd


  4
    Plaintiff also argued that Byrd was “specifically aware that the failure to properly designate the
  inmate and notify mental health could result in suicide.” (See dkt. 241-1 at 10.) This argument is
  conclusory. See Colburn II, 946 F.2d at 1027 (“Only an exercise in impermissible judicial hindsight
  could justify holding [these officers] responsible for [the subsequent] suicide.”). The record indicates
  that Mullin was already designated as a special needs inmate by the social worker, and that Byrd had
  requested a psychological follow-up for Mullin. (See dkt. 234 at 5–6; dkt. 241 at 9.)

                                                    12
Case 3:11-cv-00247-FLW-LHG Document 251 Filed 05/25/16 Page 13 of 14 PageID: 4520



  knew or should have known of this strong likelihood based upon Mullin’s designation as

  special needs.

          Lastly, Plaintiff must show that the prison officers “acted with reckless indifference to

  the detainee’s particular vulnerability.” See Colburn II, 946 F.2d at 1023 (internal quotations

  omitted). “[T]here can be no reckless or deliberate indifference to that risk unless there is

  something more culpable on the part of the officials than a negligent failure to recognize the

  high risk of suicide.” Id. at 1025. The record reflects that Byrd understood the CRAF

  policies on medical screenings and the mental health needs of inmates. See Background,

  Section I.A., supra. There is no evidence indicating that Byrd deviated from these policies,

  i.e., acted culpably, with respect to Mullin. Rather, the record indicates that Byrd followed

  protocol by properly indicating that Mullin required a psychological follow-up because of his

  special needs status and his affirmative response to one of the screening questions. This was

  the extent of Byrd’s interaction with Mullin; she played no role in his placement within

  CRAF. Thus, the Court finds that the alleged conduct of Byrd does not amount to reckless or

  deliberate indifference.

          The Court concludes that Plaintiff has not presented evidence from which a jury could

  reasonably conclude that: (1) Mullin had a particular vulnerability to suicide; (2) Byrd knew

  or should have known of the decedent’s particular vulnerability to suicide; and (3) Byrd

  acted with reckless indifference to that vulnerability, such that Byrd is liable under Section

  1983.




                                                 13
Case 3:11-cv-00247-FLW-LHG Document 251 Filed 05/25/16 Page 14 of 14 PageID: 4521



         B.     NJCRA

         Claims asserted under the NJCRA are analyzed analogously to Section 1983 claims.

  See Discussion, Section I.C., supra. Moreover, Plaintiff has alleged violations of Article 1,

  Paragraph 12 of the New Jersey Constitution, which corresponds to the Eighth Amendment.

  See id. Because Plaintiff’s Eighth Amendment claim under Section 1983 fails, and Plaintiff

  has not presented another theory of liability under the NJCRA, the Court will grant Byrd’s

  motion for summary judgment as to the NJCRA claims asserted against her.

                                        CONCLUSION

         The Court, for the reasons stated, will grant the pending motion for summary

  judgment and enter judgment in favor of Defendant Byrd. The Court will issue an

  appropriate order and judgment.

                                                             s/ Mary L. Cooper           .
                                                            MARY L. COOPER
                                                            United States District Judge


  Dated:        May 25, 2016




                                                14
